                                          UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF MICHIGAN
                                                   DETROIT DIVISION
   IN RE:   Rhonda Y Clark                                                                 CASE NO        05-73034

                                                                                          CHAPTER         7

                     CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION


1. I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.
2. I intend to do the following with respect to the property of the estate which secures those consumer debts:

a. Property to Be Surrendered.

                   DESCRIPTION OF PROPERTY                                                          CREDITOR'S NAME

 9100 Northlawn St., Detroit, MI 48204                                  City of Detroit Property Tax Division
                                                                        C.A. Young Municipal Center
                                                                        2 Woodword Ave. Room 120
                                                                        Detroit, MI 48226

 9100 Northlawn St., Detroit, MI 48204                                  Litton Loan Servicing LP
                                                                        4828 Loop Central Dr
                                                                        Houston TX 77081



b. Property to Be Retained. (Check any applicable statement).
                                                                             Lien will be        Property is                   Debtor will
                                                                             avoided             claimed as                    continue
                                                                             pursuant to         exempt and                    making
                                                                             Sec. 522(f)         will be        Debt will be   payments to
 DESCRIPTION OF PROPERTY                  CREDITOR'S NAME                    and property        redeemed       reaffirmed     creditor
                                                                             will be claimed     pursuant to    pursuant to    without
                                                                             as exempt           Sec. 722       Sec. 524(c)    reaffirming

1997 Ford Taurus                   Collins Motor Sales, Inc.                       ¨                  ¨              ¨              þ
                                   8501 Michigan Ave.
                                   Detroit, MI 48210
                                   3487




Date 10/12/2005                                                Signature    /s/ Rhonda Y Clark
                                                                           Rhonda Y Clark




Date                                                           Signature




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